                                                                    Set for hearing on
                                                                    February 3, 2014 at
                                                                    1:30 p.m.

                 IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION



UNITED STATES OF AMERICA                 )
                                         )
                                         )
vs.                                      )      NO: 3:12-170
                                         )      JUDGE TRAUGER
                                         )
JAVIER PONCE CURRASCO                    )



                MOTION FOR APPOINTMENT OF NEW COUNSEL


      Comes counsel for the defendant, Javier Ponce-Currasco, and at

the specific request of the defendant, and files this request for

the appointment of new counsel. In support of which it would be

shown that at the most recent attorney-client conference on January

27, 2014 while in review of the discovery and preparation for

trial, the defendant expressed his dissatisfaction and asked that

counsel communicate to the court that he wants the court to appoint

new counsel. Trial in this cause is set for April 08, 2014.



                                                Respectfully submitted,



                                                s/ Michael D. Noel
                                                _____________________
                                                Michael Noel
                                                Attorney for Javier
                                                     Ponce Currasco


                                                5115 Maryland Way
                                                Brentwood, TN 37027
                                                TSCRN 2593

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